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               EXHIBIT 4
5/16/25, 7:09 PM                            Joe Exotic intends to sue Black Pine Animal Sanctuary over ‘endangered species’ neutering
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   Joe Exotic intends to sue Black Pine Animal
   Sanctuary over ‘endangered species’ neutering




    Joseph Maldonado, also known as Joe Exotic from Netflix’s Tiger King, announced on social media his intent to sue the Black Pine
    Animal Sanctuary.


   By Eddie Reksiedler
   Published: May 16, 2025 at 5:36 PM EDT | Updated: 2 hours ago



   ALBION, Ind. (WPTA) - Joseph Maldonado, also known as Joe Exotic from Netflix’s Tiger King, announced on social
   media his intent to sue the Black Pine Animal Sanctuary.


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5/16/25, 7:09 PM                            Joe Exotic intends to sue Black Pine Animal Sanctuary over ‘endangered species’ neutering

   This USDC     IN/ND
         comes after the case   1:25-cv-00239-HAB-SLC
                         sanctuary was given custody of 4 tigersdocument   8-6 filed
                                                                 who were previously   05/21/25
                                                                                     owned by Exotic. page
                                                                                                      One of3them
                                                                                                              of 10
                                                                                                                  is 
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   Elvis, a white Bengal tiger.




    Elvis, the White Bengal Tiger, at his habitat at Black Pine Animal Sanctuary (staff)

   “He wants us to not neuter him, just because he thinks he has really good genes. Unfortunately, white tigers are man-
   made, so they’re not really supposed to be here. He actually has a lot of deformities; he has two crossed eyes...” said
   Kimberly Huth, lead keeper at Black Pine Animal Sanctuary.



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   The controversy started when the sanctuary announced on Facebook plans to neuter Elvis due to health concerns.

   Exotic and his team claim that neutering Elvis would violate the Endangered Species Act. Huth disagrees.

   “Tigers as a species are endangered, out in the wild, but white tigers are man-made, so they’re not considered
   endangered at all. A lot, if not all of them, are inbred, so they’re not considered a part of the Endangered Species Act,
   and while they are beautiful, there’s no question about that, there really isn’t a need to produce more of them,” she
   said.

   A petition has been started by the Tiger King to ‘save Elvis’ balls‘. That has gathered 430 signatures at the time of
   writing.




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   Huth says they have postponed Elvis’ neutering in light of the situation.

   This is a developing story. We will keep you updated here on 21Alive News as new information is provided.

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